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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION
Schottel, Jr. v. Change Healthcare LLC, )
E.D. Missouri, C.A. No. 4:25-00122 ) MDL No. 3108

ORDER REINSTATING STAY OF CONDITIONAL TRANSFER ORDER

A conditional transfer order was filed in this action (Schottel, Jr.) on February 6, 2025. In
the absence of any known opposition to the proposed transfer, the stay of transmittal with regard
to Schottel, Jr. was lifted on February 14, 2025, and the action was transferred to the District of
Minnesota.

Plaintiff moves to reinstate the stay of CTO-8 and to be allowed to oppose transfer of
Schottel, Jr. to MDL No. 3108. The Panel is persuaded that the circumstances justify
reinstatement of the conditional transfer order in order to permit the plaintiff to pursue his
opposition to transfer. Plaintiff has provided a copy of the notice of opposition.

IT IS THEREFORE ORDERED that the stay of the Panel’s conditional transfer order
designated as “CTO-8" filed on February 6, 2025, is REINSTATED.

IT IS FURTHER ORDERED that plaintiffs’ notice of opposition is deemed filed as of the
date of this order.

FOR THE PANEL:

z
g James V. Ingold

Clerk of the Panel

